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      8
                                    IN THE UNITED STATES DISTRICT COURT
      9
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
     10
     11
          UNITED STATES OF AMERICA,                        )   Case No.: CR-F-03-5237 OWW
     12                                                    )
                           Plaintiff,                      )   ORDER REFERRING DEFENDANT TO
     13
                  vs.                                      )   BUREAU OF PRISONS FOR MENTAL
     14                                                    )   EXAMINATION PURSUANT TO 18 USC
          HERMILO MEDRANO-BRIONES,
     15                                                    )   4241 (a), 4247 (b) and (c)
                           Defendant                       )
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     17
                  This matter was on calendar for status conference on July 9, 2007. Assistant United
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     19   States Attorney Servatius appeared on behalf of the government. The defendant appeared, in

     20   custody with his attorney, Steven L. Crawford.         Defense counsel moved for a hearing to
     21   determine the defendant’s mental competency, pursuant to 18 USC 4241 (a), and moved that the
     22
          defendant be referred to the Bureau of Prisons for a mental examination and report, pursuant to
     23
          18 USC 4241 (b). The defendant, through his counsel, filed a motion on or about July 10, 2007,
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     25   supporting that motion. The Court, finding there is reasonable cause to believe the defendant
     26   may presently be suffering from a mental disease or defect rendering him mentally incompetent
     27
          to understand the nature and consequences of the proceedings against him or to assist properly in
     28
          his defense. IT IS THEREFORE ORDERED AS FOLLOWS:
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     30
             1.         Pursuant to 18 USC 4241 (b), the defendant is referred to the Bureau of Prisons for a

     31                 psychiatric or psychological examination and report in accordance with the provisions
     32                 of 18 USC 4247 (b) and (c) to assist the Court in determining the defendant’s mental
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                        competence.



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      1      2.      Under 18 USC 4247 (b), the psychiatric or psychological examination shall be
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                     completed by a licensed or certified psychiatrist or psychologist.    The examining
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                     psychiatrist or psychologist shall prepare a report which shall be submitted to the
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      5              Court with copies to the attorney for the government and the attorney for the
      6              defendant, as follows:
      7
                         Attorney for the Government
      8
                         Kathleen Servatius, Assistant US Attorney
      9
     10
                         2500 Tulare Street, Suite 4401

     11                  Fresno, Ca 93721 (559)497-4000
     12
     13
                         Attorney for Defendant:
     14
                         Steven L. Crawford, Esq.
     15
     16                  651 Dolliver, Suite A
     17                  Pismo Beach, CA 93449 (559)977-2939
     18
     19
                  The report shall include the following information:
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     21
             a.      The defendant’s history and present symptoms;

     22      b.      a description of the psychiatric, psychological, and medical tests that were employed
     23              and their results;
     24
             c.      the examiner’s findings; and
     25
             d: the examiner’s opinions as to diagnosis, prognosis, and whether the defendant is suffering
     26
     27   from a mental disease or defect rendering him mentally incompetent to the extent that he is
     28   unable to understand the nature and consequences of the proceedings against him or to assist
     29   properly in his defense.
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             3.      A status conference is scheduled for Monday, August 20, 2007, at 9:00 am, to check
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                     on the progress of the above referral.
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      1      4.    Time is excluded from the speedy trial act calculation for the delay resulting from
      2
                   these proceedings, including examination to determine the defendant’s mental
      3
                   competency, pursuant to 18 USC 3161 (h)(1)(A).
      4
      5      5.    The Clerk of the Court shall serve a copy of this order on the United States Marshall,
      6            who shall immediately coordinate with the Bureau of Prisons to effectuate the
      7
                   defendant’s transfer to an appropriate facility as soon as possible. The Clerk of the
      8
                   Court shall also serve a copy of this order on the Bureau of Prisons.
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     10
             IT IS SO ORDERED:

     11
     12   DATED: August 1, 2007                               /s/ Oliver W. Wanger
     13
                                                     OLIVER W. WANGER, Judge, US District Court
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                                                     STEVEN L. CRAWFORD,
     17                                              Attorney for Defendant
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                                                     HERMILO MEDRANA-BRIONES
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